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         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States of America                            )
                                                    )
    v.                                              )        USDC No. 21-cr-503 (RCL)
                                                    )
Glenn Allen Brooks, defendant.                      )

                                            NOTICE
                                  (Unavailability of Defendant)



          THE COURT WILL PLEASE NOTE that the defendant will not be available to appear in

the above-referenced case from March 15 through March 28, 2023, owing to travel plans he has

scheduled during that period. The Court previously canceled the previous status hearing on Feb.

13, 2023, and has not yet rescheduled it. The defendant requests that the Court accommodate his

unavailability during the period specified above in rescheduling this matter.1

          This notice is,

                                                    Respectfully submitted,

                                                        Nathan I. Silver

                                                    NATHAN I. SILVER, ESQ.
                                                    D.C. Bar No. 944314
                                                    6300 Orchid Drive, Bethesda, MD 20817
                                                    (301) 229-0189/(301) 229-3625 (fax)
                                                    Email: nisquire@aol.com

                                        CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of this Notice has been served upon Joseph Hutton
Marshall, Esq., USDOJ-Criminal Division, attorney of record for the United States, via ECF this
27th day of February, 2023.

                                                    __Nathan I. Silver_____
1
 The defendant’s practice is to appear in person and is not prepared to waive under the CARES Act or Rule 43(b)
his right to do so
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                           Nathan I. Silver
